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     WEIL, GOTSHAL & MANGES LLP                                     HUNTON ANDREWS KURTH LLP
     Ray C. Schrock, P.C. (admitted pro hac vice)                   Tyler P. Brown (VSB No. 28072)
     Ryan Preston Dahl (admitted pro hac vice)                      Henry P. (Toby) Long, III (VSB No. 75134)
     Candace M. Arthur (admitted pro hac vice)                      Nathan Kramer (VSB No. 87720)
     Daniel Gwen (admitted pro hac vice)                            Riverfront Plaza, East Tower
     767 Fifth Avenue                                               951 East Byrd Street
     New York, New York 10153                                       Richmond, Virginia 23219
     Telephone: (212) 310-8000                                      Telephone: (804) 788-8200
     Facsimile: (212) 310-8007                                      Facsimile: (804) 788-8218

     Attorneys for Debtors and Debtors in Possession

                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF VIRGINIA
                                       RICHMOND DIVISION

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                                                              :
 In re                                                        :          Chapter 11
                                                              :
 CHINOS HOLDINGS, INC., et al.,                               :          Case No. 20–32181 (KLP)
                                                              :
                                                1
                                     Debtors.                 :          (Jointly Administered)
                                                              :
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                             STATEMENT OF FINANCIAL AFFAIRS FOR
                            CHINOS HOLDINGS, INC. (CASE NO. 20-32181)




 1
       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
       Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
       Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
       International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
       (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J.
       Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate
       headquarters and service address is 225 Liberty St., New York, NY 10281.
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     GLOBAL NOTES AND STATEMENTS OF LIMITATIONS, METHODOLOGY,
        AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF
      ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        Chinos Holdings, Inc. and its debtor affiliates, as debtors and debtors in possession in the
 above-captioned chapter 11 cases (collectively, the “Debtors”), are filing their respective
 Schedules of Assets and Liabilities (each, a “Schedule,” and collectively, the “Schedules”) and
 Statements of Financial Affairs (each, a “Statement” and collectively, the “Statements”) in the
 United States Bankruptcy Court for the Eastern District of Virginia, Richmond Division
 (the “Bankruptcy Court”) pursuant to section 521 of title 11 of the United States Code
 (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure
 (the “Bankruptcy Rules”).

         These Global Notes and Statements of Limitations, Methodology, and Disclaimer
 Regarding the Debtors’ Schedules and Statements (collectively, the “Global Notes”) pertain to,
 and are incorporated by reference in, and comprise and integral part of all of the Schedules and
 Statements. The Global Notes are in addition to the specific notes set forth below with respect to
 the Schedules and Statements (the “Specific Notes,” and, together with the Global Notes,
 the “Notes”). These Notes should be referred to, and referenced in connection with, any review
 of the Schedules and Statements.

         The Debtors’ management prepared the Schedules and Statements with the assistance of
 their advisors and other professionals. The Schedules and Statements are unaudited and subject to
 potential adjustment. In preparing the Schedules and Statements, the Debtors relied on financial
 data derived from their books and records that was available at the time of preparation. The
 Debtors’ management team and advisors have made reasonable efforts to ensure that the Schedules
 and Statements are as accurate and complete as possible under the circumstances; however,
 subsequent information or discovery may result in material changes to the Schedules and
 Statements and errors or omissions may exist. Notwithstanding any such discovery, new
 information, or errors or omissions, the Debtors do not undertake any obligation or commitment
 to update the Schedules and Statements.

         The Debtors reserve all rights to amend or supplement the Schedules and Statements from
 time to time, in all respects, as may be necessary or appropriate, including the right to dispute or
 otherwise assert offsets or defenses to any claim reflected on the Schedules and Statements as to
 amount, liability, classification, identity of Debtor, or to otherwise subsequently designate any
 claim as “disputed,” “contingent,” or “unliquidated.” Furthermore, nothing contained in the
 Schedules, Statements, or Notes shall constitute a waiver of any of the Debtors’ rights or an
 admission with respect to their chapter 11 cases, including any issues involving objections to
 claims, substantive consolidation, equitable subordination, defenses, characterization or re-
 characterization of contracts and leases, assumption or rejection of contracts and leases under the
 provisions of chapter 3 of the Bankruptcy Code, causes of action arising under the provisions of
 chapter 5 of the Bankruptcy Code, or any other relevant applicable laws to recover assets or avoid
 transfers.




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                         Global Notes and Overview of Methodology

        The Schedules, Statements, and Notes should not be relied upon by any persons for
 information relating to current or future financial conditions, events, or performance of any
 of the Debtors or their affiliates.

        1.     Description of the Cases. On May 4, 2020 (the “Petition Date”), each of the
               Debtors commenced a voluntary case under chapter 11 of the Bankruptcy Code.
               The Debtors are authorized to operate their businesses and manage their properties
               as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy
               Code. On May 5, 2020, the Bankruptcy Court entered an order authorizing the joint
               administration of the chapter 11 cases pursuant to Bankruptcy Rule 1015(b)
               [Docket No. 99]. Notwithstanding the joint administration of the Debtors’ cases
               for procedural purposes, each Debtor has filed its own Schedules and Statements.
               On May 13, 2020, the United States Trustee for the Eastern District of Virginia,
               Richmond Division (the “U.S. Trustee”) appointed an official committee of
               unsecured creditors pursuant to section 1102(a)(1) of the Bankruptcy Code
               (the “Creditors’ Committee”).

        2.     Basis of Presentation. For financial reporting purposes, the Debtors generally
               prepare consolidated financial statements, which include information for the
               Debtors and their non-Debtor affiliates. The Schedules and Statements are
               unaudited and reflect the Debtors’ reasonable efforts to report certain financial
               information of each Debtor on an unconsolidated basis. These Schedules and
               Statements neither purport to represent financial statements prepared in accordance
               with Generally Accepted Accounting Principles in the United States (“GAAP”),
               nor are they intended to be fully reconciled with the financial statements of each
               Debtor.

               The Debtors used reasonable efforts to attribute the assets and liabilities, certain
               required financial information, and various cash disbursements to each particular
               Debtor entity. Because the Debtors’ accounting systems, policies, and practices
               were developed for consolidated reporting purposes rather than for reporting by
               legal entity, however, it is possible that not all assets and liabilities have been
               recorded with the correct legal entity on the Schedules and Statements.
               Specifically, the Debtors do not account for accounts payable and payments to
               individual creditors on a legal entity basis. Substantially all payments are made by
               J. Crew Operating Corp. on behalf of the various entities and therefore are presented
               as such in the Schedules and Statements. Intercompany receivables and payables
               are created to account for these transactions by legal entity. Therefore, unless
               indicated otherwise, scheduled claims are listed as a liability of J. Crew Operating
               Corp. The Debtors reserve all rights to supplement and amend the Schedules and
               Statements in this regard, including with respect to reallocation of assets or
               liabilities to any particular entity.

        3.     Reporting Date. Unless otherwise noted on the specific responses, the Schedules
               and Statements generally reflect the Debtors’ books and records as of the close of
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            business on the Petition Date. The liability values are as of the Petition Date,
            adjusted for authorized payments made under the First Day Orders (as defined
            below).

      4.    Current Values. Unless otherwise noted on the specific responses, the assets and
            liabilities of each Debtor are listed in the Schedules and Statements on the basis of
            the net book value of the asset or liability in the respective Debtor’s accounting
            books and records.

      5.    Confidentiality. There may be instances where certain information was not
            included or redacted due to the nature of an agreement between a Debtor and a third
            party, concerns about the confidential or commercially sensitive nature of certain
            information, or to protect the privacy of an individual.

      6.    Consolidated Entity Accounts Payable and Disbursement Systems. As
            described in the Motion of Debtors for Entry of Interim and Final Orders
            (I) Authorizing Debtors to (A) Continue Participating In Existing Cash
            Management System, and Using Bank Accounts and Business Forms, and
            (B) Continue Intercompany Transactions, (II) Providing Administrative Expense
            Priority for Postpetition Intercompany Claims, (III) Extension of Time to Comply
            with Requirements of 11 U.S.C. § 345(b), and (IV) Granting Related Relief [Docket
            No. 7], the Debtors utilize an integrated, centralized cash management system, in
            the ordinary course of business, to collect, concentrate, and disburse funds
            generated by their operations (the “Cash Management System”). The Debtors
            maintain a master concentration account to pay the Debtors’ obligations through
            the following accounts: (a) disbursement accounts, (b) payroll account,
            (c) investment accounts, (d) open account and letter of credit account, and (e) non-
            debtor cash management systems.

            In the ordinary course of business, the Debtors maintain business relationships
            among each other, which result in intercompany receivables and payables
            (the “Intercompany Claims”) arising from intercompany transactions
            (the “Intercompany Transactions”). As set forth more fully in the Cash
            Management Motion, Intercompany Transactions primarily relate to income taxes
            or fees charged by certain Debtors or non-Debtor affiliates to other Debtors or non-
            Debtor affiliates on account of the intercompany provision of goods or services.
            Historically, Intercompany Claims are not settled by actual transfers of cash among
            the Debtors. Instead, the Debtors track all Intercompany Transactions in their
            centralized accounting system, which concurrently are recorded on the applicable
            Debtors’ balance sheets and regularly reconciled. The Debtors’ accounting system
            requires that all general ledger entries be balanced at the legal entity level, with
            certain legal entities consolidated. Unless otherwise noted, the Debtors have
            reported the intercompany receivables and intercompany payables among the
            Debtors as assets on Schedule A/B or as liabilities on Schedule E/F, as appropriate.

      7.    Accuracy. The financial information disclosed herein was not prepared in
            accordance with federal or state securities laws or other applicable nonbankruptcy
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            law or in lieu of complying with any periodic reporting requirements thereunder.
            Persons and entities trading in or otherwise purchasing, selling, or transferring the
            claims against or equity interests in the Debtors should evaluate this financial
            information in light of the purposes for which it was prepared. The Debtors are not
            liable for and undertake no responsibility to indicate variations from securities laws
            or for any evaluations of the Debtors based on this financial information or any
            other information.

      8.    Net Book Value of Assets. In many instances, current market valuations are not
            maintained by or readily available to the Debtors. As such, wherever possible, net
            book values as of the Petition Date are presented. Amounts ultimately realized
            based on market valuations may vary materially from net book value (or other value
            so ascribed). Accordingly, the Debtors reserve all rights to amend, supplement,
            and adjust the asset values set forth in the Schedules and Statements. As applicable,
            fixed assets and leasehold improvement assets that fully have been depreciated or
            amortized, or were expensed for GAAP accounting purposes, have no net book
            value, and, therefore, are not included in the Schedules and Statements.

      9.    Undetermined Amounts. Claim amounts that could not readily be quantified by
            the Debtors are scheduled as “undetermined,” “unknown,” or “N/A.” The
            description of an amount as “undetermined,” “unknown,” or “N/A” is not intended
            to reflect upon the materiality of the amount.

      10.   Excluded Assets and Liabilities. The Debtors believe that they have identified,
            but did not necessarily value, all material categories of assets and liabilities in the
            Schedules. The Debtors have excluded the following items from the Schedules and
            Statements: certain accrued liabilities, including accrued salaries and wages,
            employee benefit accruals, and certain other accruals, certain prepaid and other
            current assets considered to have de minimis or no market value. Other immaterial
            assets and liabilities may also have been excluded.

      11.   Totals. All totals that are included in the Schedules and Statements represent totals
            of all the known amounts included in the Schedules and Statements and exclude
            items identified as “unknown” or “undetermined.” If there are unknown or
            undetermined amounts, the actual totals may be materially different from the listed
            totals.

      12.   Currency. All amounts shown in the Schedules and Statements are in U.S. Dollars,
            unless otherwise indicated.

      13.   Payment of Prepetition Claims Pursuant to First Day Orders. The Debtors
            have authority to pay certain outstanding prepetition payables pursuant to certain
            orders by the Bankruptcy Court entered in connection with the Debtors’ chapter 11
            cases authorizing the Debtors to pay certain prepetition amounts (collectively, the
            “First Day Orders”). As such, outstanding liabilities may have been reduced by
            any court-approved postpetition payments made on prepetition payables. If these
            liabilities have been satisfied, they are not listed in the Schedules and Statements
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               unless otherwise noted. If the Debtors later pay any amount of the claims listed in
               the Schedules and Statements pursuant to any orders entered by the Bankruptcy
               Court, the Debtors reserve all rights to amend or supplement the Schedules and
               Statements or to take other action, such as filing claims objections, as is necessary
               and appropriate to avoid overpayment or duplicate payments for liabilities.

      14.      Other Paid Claims. If the Debtors have reached any postpetition settlement with
               a vendor or other creditor that expressly supersedes the Schedules and Statements
               or that was entered into after filing of the Schedules and Statements, the terms of
               such settlement will prevail, supersede amounts listed in the Debtors’ Schedules
               and Statements, and shall be enforceable by all parties, subject to Bankruptcy Court
               approval.

      15.      Setoffs. The Debtors routinely incur certain setoffs from customers and suppliers
               in the ordinary course of business. Setoffs in the ordinary course can result from
               various items including, but not limited to, pricing discrepancies, customer
               programs, returns, promotional funding, and other disputes between the Debtors
               and their customers and suppliers. These routine setoffs are consistent with the
               ordinary course of business in the Debtors’ industry, and, therefore, can be
               particularly voluminous, unduly burdensome, and costly for the Debtors to
               regularly document. Therefore, although such setoffs and other similar rights may
               have been accounted for when scheduling certain amounts, these ordinary course
               setoffs are not independently accounted for, and, as such, are excluded from the
               Debtors’ Schedules and Statements. Any setoff of a prepetition debt to be applied
               against the Debtors is subject to the automatic stay and must comply with section
               553 of the Bankruptcy Code.

            16. Inventory. Merchandise inventories are carried at the lower of average cost or net
                realizable value. The Debtors capitalize certain design, purchasing and
                warehousing costs in inventory. The Debtors evaluate all of their inventories to
                determine excess inventories based on estimated future sales. Based on historical
                results experienced through various methods of disposition, the Debtors write down
                the carrying value of inventories that are not expected to be sold at or above cost.
                Additionally, the Debtors reduce the cost of inventories based on an estimate of lost
                or stolen items each period.

      17.      Property, Plant and Equipment. Property and equipment are stated at cost and
               are depreciated over the estimated useful lives using the straight-line method.
               Buildings and improvements are depreciated over estimated useful lives of twenty
               years. Furniture, fixtures and equipment are depreciated over estimated useful
               lives, ranging from three to ten years. Leasehold improvements are depreciated
               over the shorter of their useful lives or related lease terms (without consideration
               of optional renewal periods). The Debtors capitalize certain costs (included in
               fixtures and equipment) related to the acquisition and development of software and
               amortizes these costs using the straight-line method over the estimated useful life
               of the software, which is three to five years. Certain development costs not meeting
               the criteria for capitalization are expensed as incurred.
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      18.   Debtors’ Reservation of Rights. Nothing contained in the Schedules, Statements,
            or Notes shall constitute a waiver of rights with respect to these chapter 11 cases,
            including the following:

            a.      Any failure to designate a claim listed on the Debtors’ Schedules and
                    Statements as “disputed,” “contingent,” or “unliquidated” does not
                    constitute an admission by the Debtors that such amount is not “disputed,”
                    “contingent,” or “unliquidated.” The Debtors reserve the right to dispute
                    and to assert setoff rights, counterclaims, and defenses to any claim
                    reflected on the Schedules as to amount, liability, and classification, and to
                    otherwise subsequently designate any claim as “disputed,” “contingent,” or
                    “unliquidated.”

            b.      Notwithstanding that the Debtors have made reasonable efforts to correctly
                    characterize, classify, categorize, or designate certain claims, assets,
                    executory contracts, unexpired leases, and other items reported in the
                    Schedules and Statements, the Debtors nonetheless may have improperly
                    characterized, classified, categorized, or designated certain items. The
                    Debtors thus reserve all rights to recharacterize, reclassify, recategorize, or
                    redesignate items reported in the Schedules and Statements at a later time
                    as is necessary and appropriate.

            c.      The listing of a claim (i) on Schedule D as “secured,” (ii) on Schedule E/F
                    (Part 1) as “priority,” (iii) on Schedule E/F (Part 2) as “unsecured,” or
                    (iv) listing a contract or lease on Schedule G as “executory” or “unexpired”
                    does not constitute an admission by the Debtors of the legal rights of the
                    claimant, or a waiver of the Debtors’ rights to recharacterize or reclassify
                    such claim or contract pursuant to a schedule amendment, claim objection
                    or otherwise. Moreover, although the Debtors may have scheduled claims
                    of various creditors as secured claims for informational purposes, no current
                    valuation of the Debtors’ assets in which such creditors may have a security
                    interest has been undertaken. Except as provided in an order of the
                    Bankruptcy Court, the Debtors reserve all rights to dispute and challenge
                    the secured nature or amount of any such creditor’s claims or the
                    characterization of the structure of any transaction, or any document or
                    instrument related to such creditor’s claim.

            d.      In the ordinary course of their business, the Debtors lease equipment and
                    other assets from certain third-party lessors for use in the daily operation of
                    their business. The Debtors have made commercially reasonable efforts to
                    list any such leases in Schedule G, and any current amounts due under such
                    leases that were outstanding as of the Petition Date are listed on Schedule
                    E/F. Except as otherwise noted herein, the property subject to any such
                    leases is not reflected in Schedule A/B as either owned property or assets of
                    the Debtors, and neither is such property or assets of third parties within the
                    control of the Debtors. Nothing in the Schedules is or shall be construed as
                    an admission or determination as to the legal status of any lease (including
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                    whether any lease is a true lease or a financing arrangement), and the
                    Debtors reserve all rights with respect to any of such issues, including the
                    recharacterization thereof.

            e.      The claims of individual creditors for, among other things, goods, products,
                    services or taxes are listed as the amounts entered on the Debtors’ books
                    and records and may not reflect credits, allowances or other adjustments due
                    from such creditors to the Debtors. The Debtors reserve all of their rights
                    with regard to such credits, allowances and other adjustments, including the
                    right to assert claims objections and setoffs with respect to the same.

            f.      The Debtors’ businesses are part of a complex enterprise. Although the
                    Debtors have exercised their reasonable efforts to ensure the accuracy of
                    their Schedules and Statements, they nevertheless may contain errors and
                    omissions. The Debtors hereby reserve all of their rights to dispute the
                    validity, status, and enforceability of any contracts, agreements, and leases
                    identified in the Debtors’ Schedules and Statements, and to amend and
                    supplement the Schedules and Statements as necessary.

            g.      The Debtors further reserve all of their rights, claims, and causes of action
                    with respect to the contracts and agreements listed on the Schedules and
                    Statements, including the right to dispute and challenge the characterization
                    or the structure of any transaction, document, and instrument related to a
                    creditor’s claim.

            h.      The Debtors exercised their reasonable efforts to locate and identify
                    guarantees and other secondary liability claims (the “Guarantees”) in their
                    executory contracts, unexpired leases, secured financings, debt instruments,
                    and other agreements. When such Guarantees have been identified, they
                    are included in the relevant Schedules and Statements. Guarantees
                    embedded in the Debtors’ executory contracts, unexpired leases, secured
                    financings, debt instruments, and other agreements may have been omitted
                    inadvertently. Thus, the Debtors reserve their rights to amend and
                    supplement the Schedules and Statements to the extent that additional
                    Guarantees are identified. In addition, the Debtors reserve the right to
                    amend the Schedules and Statements to re-characterize and reclassify any
                    such contract or claim.

            i.      Listing a contract or lease on the Debtors’ Schedules and Statements shall
                    not be deemed an admission that such contract is an executory contract,
                    such lease is an unexpired lease, or that either necessarily is a binding, valid,
                    and enforceable contract. The Debtors hereby expressly reserve the right to
                    assert that any contract listed on the Debtors’ Schedules and Statements
                    does not constitute an executory contract within the meaning of section 365
                    of the Bankruptcy Code, and the right to assert that any lease so listed does
                    not constitute an unexpired lease within the meaning of section 365 of the
                    Bankruptcy Code.
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            j.      Exclusion of certain intellectual property should not be construed to be an
                    admission that such intellectual property rights have been abandoned, have
                    been terminated or otherwise expired by their terms, or have been assigned
                    or otherwise transferred pursuant to a sale, acquisition, or other transaction.
                    Conversely, inclusion of certain intellectual property should not be
                    construed to be an admission that such intellectual property rights have not
                    been abandoned, have not been terminated or otherwise expired by their
                    terms, or have not been assigned or otherwise transferred pursuant to a sale,
                    acquisition, or other transaction.

      19.   Global Notes Control. If the Schedules or Statements differ from any of the
            foregoing Global Notes, the Global Notes shall control.

      Specific Notes with Respect to the Debtors’ Schedules

      1.    Schedule A/B.

            a.      A/B.3. As set forth more fully in the Cash Management Motion, the
                    Debtors conduct their operations through an extensive network of bank
                    accounts. The values provided for in Schedule A/B, Item 3 for each account
                    for a given Debtor reflects the ending cash balance of such account as of the
                    Petition Date.

            b.      A/B.10–12. Consistent with the Debtors’ financial reporting practices,
                    certain current assets, including credit card receivables, wholesale
                    receivables, corporate receivables, and any allowances thereof provided for
                    in Schedule A/B, Items 11 and 12 are as of the Petition Date. Intercompany
                    receivables have been listed as “Other property” under Schedule A/B, Item
                    77.

            c.      A/B.15. Equity interests in subsidiaries and affiliates primarily arise from
                    common stock ownership or member interests. For purposes of these
                    Schedules, the Debtors have assigned an ownership percentage for the
                    equity interests of all of their direct subsidiaries.

            d.      A/B.18–26. Schedule A/B, Items 18–26 identifies the estimated value of
                    the Debtors’ inventories. Included within the estimated values are various
                    reserves and capitalized balances that the Debtors attribute to the total value
                    of inventory as included within their books and records, such as on account
                    of slow moving goods, shrinkage and markdowns.

            e.      A/B.54–58. The Debtors considered only real property owned in
                    responding to Schedule A/B, Items 54–58. However, the Debtors’ real
                    property leases are listed in Schedule G and are incorporated into Schedule
                    A/B, Items 54-58 by reference. The Debtors’ real property leases for retail
                    store locations are listed on Schedule G for Chinos Holdings, Inc.; J. Crew


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                    Group, Inc.; J. Crew Operating Corp.; Grace Holmes, Inc.; J. Crew Inc.;
                    Madewell Inc.; H.F.D. No. 55, Inc.

            f.      A/B.59–65. The Debtors have not listed the value of the items listed in
                    Schedule A/B, Items 59–65 because the values on the Debtors’ books and
                    records may not accurately reflect their value in the marketplace.

                    Additionally, certain of the Debtors have customer information from loyalty
                    programs, customer accounts, in-store and online sales, as well as
                    information collected from the Debtors’ websites and third-party partners,
                    which information includes personally identifiable information. The
                    Debtors maintain certain records in the ordinary course of business, but do
                    not sell these lists. Due to privacy laws, the Debtors’ privacy policy, and
                    the need to protect confidential information and individual privacy, the
                    Debtors have not furnished any customer lists on their Schedules.

            g.      A/B.72. The Debtors file consolidated federal tax returns, as well as certain
                    of their state tax returns, under Chinos Holdings, Inc. Consequently, the
                    Debtors maintain net and current book operating losses, carryforwards of
                    disallowed business interest expense, and carryforwards of unused general
                    business credits, in each case, from consolidated tax filings made by Chinos
                    Holdings, Inc. (“Tax Assets”), and such Tax Assets are listed only under
                    Item 72 of Schedule A/B for Chinos Holdings, Inc. Additionally, the values
                    of the Tax Assets listed in Schedule A/B, Item 72 reflect the amounts listed
                    in the Debtors’ books and records, and may reflect amounts accumulated
                    for more than one tax year.

            h.      A/B.70–77. Despite exercising their commercially reasonable efforts to
                    identify all known assets, the Debtors may not have listed all of their causes
                    of action or potential causes of action against third parties as assets in their
                    Schedules. Unless otherwise noted on specific responses, items reported on
                    Schedule A/B are reported from the Debtors’ books and records as of the
                    Petition Date. The Debtors reserve all of their rights with respect to any
                    claims and causes of action they may have. Neither these Notes nor the
                    Schedules shall be deemed a waiver of any such claims or causes of action
                    or to prejudice or impair the assertion thereof in any way.

                    If a Debtor has received an intercompany receivable, such amount has been
                    listed on Item 77, Schedule A/B for such Debtor. Correspondingly, if a
                    Debtor is obligated on account of an intercompany payable, such amount
                    has been listed on Schedule E/F, Part 2 for such Debtor.

      2.    Schedule D. The claims listed on Schedule D, as well as the guarantees of those
            claims listed on Schedule H, arose and were incurred on various dates; a
            determination of the date upon which each claim arose or was incurred would be
            unduly burdensome and cost prohibitive. Accordingly, not all such dates are
            included for each claim. To the best of the Debtors’ knowledge, all claims listed
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            on Schedule D arose or were incurred before the Petition Date. The amounts in
            Schedule D are consistent with the Debtors’ stipulations set forth in the Final Order
            (I) Authorizing the Debtors to Obtain Postpetition Financing, (II) Authorizing the
            Debtors to Use Cash Collateral, (III) Granting Liens and Providing Superpriority
            Administrative Expense Claims, (IV) Granting Adequate Protection to Prepetition
            Secured Parties, (V) Modifying Automatic Stay, and (VI) Granting Related Relief
            [Docket No. 447] (the “DIP Order”), which are subject to investigation and
            challenge by the Creditors’ Committee or other parties in interest, all as more fully
            set forth in the DIP Order.

            Except as otherwise agreed to or stated pursuant to a stipulation, agreed order, or
            general order entered by the Bankruptcy Court that is or becomes final, including
            the DIP Order, the Debtors and their estates reserve their right to dispute and
            challenge the validity, perfection, or immunity from avoidance of any lien
            purported to be granted or perfected in any specific asset to a creditor listed on
            Schedule D of any Debtor and, subject to the foregoing limitations, note as follows:
            (a) although the Debtors may have scheduled claims of various creditors as secured
            claims for informational purposes, no current valuation of the Debtors’ assets in
            which such creditors may have a lien has been undertaken; (b) the Debtors have
            included the results of UCC lien searches performed prior to the Petition Date (the
            reporting of such results, however, shall not be deemed an admission as to the
            validity or existence of any such lien); (c) the Debtors reserve all rights to dispute
            and challenge the secured nature of any creditor’s claim or the characterization of
            the structure of any such transaction or any document or instrument related to such
            creditor’s claim; and (d) the descriptions provided on Schedule D only are intended
            to be a summary. Reference to the applicable loan agreements and related
            documents is necessary for a complete description of the collateral and the nature,
            extent, and priority of any liens.

            Detailed descriptions of the Debtors’ prepetition debt structure and descriptions of
            collateral relating to the debt contained on Schedule D are contained in the
            Declaration of Michael J. Nicholson in Support of Debtors’ Chapter 11 Petitions
            and First Day Relief [Docket No. 6] (the “First Day Declaration”).

            The Debtors have listed only the administrative agent or indenture trustee for their
            funded secured indebtedness, but each of these secured claims are owned or
            beneficially controlled by a number of parties that may not be identified in the
            Schedules and Statements.

            Except as specifically stated herein, real property lessors, equipment lessors, utility
            companies, and other parties which may hold security deposits or other security
            interests have not been listed on Schedule D. The Debtors have not listed on
            Schedule D any parties whose claims may be secured through rights of setoff,
            deposits, or advance payments posted by, or on behalf of, the Debtors, or judgment
            or statutory lien rights.


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      3.    Schedule E/F

            a.      (Part 1). The claims listed on Schedule E/F (Part 1) arose and were incurred
                    on various dates; a determination of the date upon which each claim arose
                    or was incurred would be unduly burdensome and cost prohibitive.
                    Accordingly, not all such dates are included for each claim. To the best of
                    the Debtors’ knowledge, all claims listed on Schedule E/F arose or were
                    incurred before the Petition Date.

                    The Debtors have not listed certain wage, or wage-related obligations that
                    the Debtors have paid pursuant to First Day Orders on Schedule E/F. The
                    Debtors reserve the right to dispute or challenge whether creditors listed on
                    Schedule E/F are entitled to priority status pursuant to sections 503 and 507
                    of the Bankruptcy Code.

                    Claims owing to various taxing authorities to which the Debtors potentially
                    may be liable are included on the Debtors’ Schedule E/F. Certain of such
                    claims, however, may be subject to ongoing audits and the Debtors
                    otherwise are unable to determine with certainty the amount of the
                    remaining claims listed on Schedule E/F. Therefore, the Debtors have listed
                    all such claims as disputed, contingent, and unliquidated, pending final
                    resolution of ongoing audits or other outstanding issues.

                    The Debtors reserve the right to assert that any claim listed on Schedule E/F
                    does not constitute a priority claim under the Bankruptcy Code.

            b.      (Part 2). The Debtors have exercised their commercially reasonable efforts
                    to list all liabilities on Schedule E/F of each applicable Debtor. As a result
                    of the Debtors’ consolidated operations, however, the reader should review
                    Schedule E/F for all Debtors in these cases for a complete understanding of
                    the unsecured debts of the Debtors. Certain creditors listed on Schedule E/F
                    may owe amounts to the Debtors, and, as such, the Debtors may have valid
                    setoff and recoupment rights with respect to such amounts. The amounts
                    listed on Schedule E/F may not reflect any such right of setoff or
                    recoupment, and the Debtors reserve all rights to assert the same and to
                    dispute and challenge any setoff and recoupment rights that may be asserted
                    against the Debtors by a creditor. Additionally, certain creditors may assert
                    mechanic’s, materialman’s, or other similar liens against the Debtors for
                    amounts listed on Schedule E/F. The Debtors reserve their rights to dispute
                    and challenge the validity, perfection, and immunity from avoidance of any
                    lien purported to be perfected by a creditor listed on Schedule E/F of any
                    Debtor. In addition, certain claims listed on Schedule E/F (Part 2) may be
                    entitled to priority under 11 U.S.C. § 503(b)(9).

                    The Debtors have made reasonable efforts to include all unsecured creditors
                    on Schedule E/F including, but not limited to, lease counterparties, taxing
                    authorities, trade creditors, and service providers. The amounts listed in
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                            Schedule E/F with respect to certain trade creditors are consistent with the
                            Debtors’ stipulations set forth in each such creditors’ ongoing trade
                            agreement, as applicable.1 The Debtors have made reasonable efforts to
                            include certain balances on Schedule E/F, including deferred liabilities,
                            accruals, or general reserves, but may not have included all balances where
                            impracticable. Such amounts are, however, reflected on the Debtors’ books
                            and records as required in accordance with GAAP. Such accruals primarily
                            represent general estimates of liabilities and do not represent specific claims
                            as of the Petition Date. The Debtors have made reasonable efforts to include
                            as contingent, unliquidated and disputed the claim of any party not included
                            on the Debtors’ open accounts payable that is associated with an account
                            that has an accrual or receipt not invoiced.

                            Schedule E/F also contains information regarding pending litigation
                            involving the Debtors. In certain instances, the relevant Debtor that is the
                            subject of the litigation is unclear or undetermined. To the extent that
                            litigation involving a particular Debtor has been identified, however, such
                            information is included on that Debtor’s Schedule E/F. The amounts for
                            these potential claims are listed as undetermined and marked as contingent,
                            unliquidated, and disputed in the Schedules.

                            The aggregate net intercompany payable amounts listed in Schedule E/F
                            may or may not result in allowed or enforceable claims by or against a given
                            Debtor, and listing these payables is not an admission on the part of the
                            Debtors that the Intercompany Claims are enforceable or collectable. The
                            intercompany payables also may be subject to recoupment, netting, or other
                            adjustments made pursuant to intercompany policies and arrangements not
                            reflected in the Schedules.

                            Additionally, the Bankruptcy Court has authorized the Debtors to pay, in
                            their discretion, certain unsecured claims, pursuant to the First Day Orders.
                            To the extent practicable, each Debtor’s Schedule E/F is intended to reflect
                            the balance as of the Petition Date, adjusted for postpetition payments of
                            some or all of the Bankruptcy Court-approved payments. Each Debtor’s
                            Schedule E/F will reflect some of the Debtor’s payments of certain claims
                            pursuant to the First Day Orders, and, to the extent an unsecured claim has
                            been paid or may be paid, it is possible such claim is not included on
                            Schedule E/F. Certain Debtors may pay additional claims listed on
                            Schedule E/F during these Chapter 11 cases pursuant to these and other
                            orders of the Bankruptcy Court and the Debtors reserve all of their rights to
                            update Schedule E/F to reflect such payments or to modify the claims


 1
     Further information and a form of the Debtors’ ongoing trade agreements is set forth in the Debtors’ Final Order
     (I) Authorizing Debtors to Pay Certain Prepetition Claims, Lien Claims, and 503(b)(9) Claims, (II) Confirming
     Administrative Expense Priority of Undisputed Prepetition Orders, and (III) Granting Related Relief [Docket No.
     384].

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                    register to account for the satisfaction of such claim. Additionally, Schedule
                    E/F does not include potential rejection damage claims, if any, of the
                    counterparties to executory contracts and unexpired leases that have been,
                    or may be, rejected.

      4.    Schedule G. Although reasonable efforts have been made to ensure the accuracy
            of Schedule G regarding executory contracts and unexpired leases (collectively,
            the “Agreements”), review is ongoing and inadvertent errors, omissions or
            overinclusion may have occurred. The Debtors may have entered into various other
            types of Agreements in the ordinary course of their businesses, such as indemnity
            agreements, supplemental agreements, and amendments/letter agreements that may
            not be set forth in Schedule G. In addition, as described herein, certain non-
            disclosure agreements and or other confidential information have been omitted, as
            well as certain short-term purchase and sales orders given their large number and
            transitory nature.

            Omission of an agreement from Schedule G does not constitute an admission that
            such omitted agreement is not an executory contract or unexpired lease. Schedule
            G may be amended at any time to add any omitted Agreements. Likewise, the
            listing of an Agreement on Schedule G does not constitute an admission that such
            Agreement is an executory contract or unexpired lease or that such Agreement was
            in effect on the Petition Date or is valid or enforceable. The Agreements listed on
            Schedule G may have expired or may have been modified, amended, or
            supplemented from time to time by various amendments, restatements, waivers,
            estoppel certificates, letter and other documents, instruments and agreements that
            may not be listed on Schedule G. Executory agreements that are oral in nature have
            not been included in Schedule G. Any and all of the Debtors’ rights, claims and
            causes of action with respect to the Agreements listed on Schedule G are hereby
            reserved and preserved, and as such, the Debtors hereby reserve all of their rights
            to (i) dispute the validity, status, or enforceability of any Agreements set forth on
            Schedule G, (ii) dispute or challenge the characterization of the structure of any
            transaction, or any document or instrument related to a creditor’s claim, including,
            but not limited to, the Agreements listed on Schedule G and (iii) to amend or
            supplement such Schedule as necessary. Certain of the Agreements listed on
            Schedule G may have been entered into on behalf of more than one of the Debtors.
            Additionally, the specific Debtor obligors to certain of the Agreements may not
            have been specifically ascertained in every circumstance. In such cases, the
            Debtors have made reasonable efforts to identify the correct Debtor’s Schedule G
            on which to list the Agreement and, where a contract party remained uncertain,
            such Agreement may have been listed on a different Debtor’s Schedule G.

      5.    Schedule H. The Debtors are party to various debt agreements, which were
            executed by multiple Debtors. The obligations of guarantors under prepetition,
            secured credit agreements are noted on Schedule H for each individual debtor. In
            the ordinary course of their businesses, the Debtors are involved in pending or
            threatened litigation and claims arising out of the conduct of their businesses. Some
            of these matters may involve multiple plaintiffs and defendants, some or all of
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            whom may assert cross-claims and counter-claims against other parties. Because
            such claims are listed on each Debtor’s Schedule E/F and Statement 7, as
            applicable, they have not been set forth individually on Schedule H. Furthermore,
            the Debtors may not have identified certain guarantees that are embedded in the
            Debtors’ executory contracts, unexpired leases, secured financings, debt
            instruments and other such agreements. No claim set forth on the Schedules and
            Statements of any Debtor is intended to acknowledge claims of creditors that are
            otherwise satisfied or discharged by other Debtors or non-Debtors. If there are
            guarantees connected with any joint ventures to which the Debtors may be a party,
            such agreements are not identified in the Debtors’ Schedules. The Debtors reserve
            all of their rights to amend the Schedules to the extent that additional guarantees
            are identified or such guarantees are discovered to have expired or be
            unenforceable.



      Specific Notes With Respect to the Debtors’ Statements

      1.    Statement 1. Sales are reflected net of returns and allowances, discounts, and
            certain other adjustments. Negative revenue relates to discounts on gift cards sold
            through third parties.

            The Debtors’ fiscal year ends on the Saturday closest to January 31:

            FY 2017: Composed of 53 weeks ending February 3, 2018.

            FY 2018: Composed of 52 weeks ending February 2, 2019.

            FY 2019: Composed of 52 weeks ending February 1, 2020.

      2.    Statement 3. The obligations of the Debtors are primarily paid by and through
            J. Crew Operating Corp., notwithstanding the fact that certain obligations may be
            obligations of one or more of the affiliated Debtors or non-Debtor affiliates.

            The payments disclosed in Statement 3 are based on payments made by the Debtors
            with payment dates from February 4, 2020 to May 4, 2020. The actual dates that
            cash cleared the Debtors’ bank accounts may differ based on the form of payment.
            The Debtors’ accounts payable system does not include the corresponding payment
            clear dates and compiling this data would have required a significant manual review
            of individual bank statements. It is expected, however, that many payments
            included in Statement 3 have payment clear dates that are the same as payment
            dates (e.g., wires and other forms of electronic payments).

            The responses to Statement 3 exclude certain disbursements or transfers to creditors
            otherwise listed in Statement 9, Statement 11, and payments made on account of
            certain employee obligations including, but not limited to, medical costs and
            business expense reimbursements.

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      3.    Statement 4. The Debtors reserve all rights with respect to the determination or
            status of a person as an “insider” as defined in section 101(13) of the Bankruptcy
            Code. For more information regarding each Debtor’s officers and directors, see
            Statement 28 and Statement 29.

            Question 4 of the Statements does not account for merchandise that may have been
            moved between the Debtors’ locations because such transfers are recorded through
            ordinary course accounting entries.

            The payroll-related amount shown in response to this question, which includes,
            among other things, salary, wage, additional compensation, is a gross amount that
            does not include reductions for amounts including employee tax or benefit
            withholdings. In the ordinary course of business, certain corporate or personal
            credit cards may be utilized by insiders to pay for travel and business-related
            expenses for various other individuals employed by the Debtors. As it would be
            unduly burdensome for the Debtors to analyze which credit card expenses related
            to those incurred on behalf of an insider as opposed to another employee (or the
            Debtors), the Debtors have listed the aggregate amount paid for such expenses.
            Amounts still owed to creditors will appear on the Schedules for each of the
            Debtors.

      4.    Statement 5. On occasion, the Debtors may return damaged or unsatisfactory
            goods to vendors in the ordinary course of business. Other than ordinary course
            items, the Debtors are not aware of any property that has been returned to the seller.

      5.    Statement 6. The Debtors maintain certain customer programs, including return
            and refund programs pursuant to which customers may receive credits. Such
            transactions were not considered setoffs for the purpose of responding to Statement
            6, although the Debtors reserve all rights with respect thereto and make no
            admission of waiver thereby.

            The Debtors have otherwise used their reasonable efforts to reflect setoffs made by
            creditors without permission that they are aware of; however, there may be
            instances, including credits due to landlords, when such a setoff has occurred
            without the Debtors’ knowledge.

      6.    Statement 7. The Debtors reserve all of their rights and defenses with respect to
            any and all listed lawsuits and administrative proceedings. The listing of such suits
            and proceedings shall not constitute an admission by the Debtors of any liabilities
            or that the actions or proceedings were correctly filed against the Debtors or any
            affiliates of the Debtors. The Debtors also reserve their rights to assert that neither
            the Debtors nor any affiliate of the Debtors is an appropriate party to such actions
            or proceedings. Further, the Debtors operate in numerous jurisdictions and in the
            ordinary course of business may have disputed property valuations/tax assessments.
            The Debtors have not listed such disputes on Statement 7.



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      7.    Statement 10. The losses listed may exclude those incurred in the ordinary course
            of business or those where the amount is de minimis.

      8.    Statement 11. The Debtors have used reasonable efforts to identify payments for
            services of any entities who provided consultation concerning debt counseling or
            restructuring services, relief under the Bankruptcy Code or preparation of a petition
            in bankruptcy within one year immediately preceding the Petition Date, which are
            identified in J. Crew Operating Corp.’s response to Statement 11. Additional
            information regarding the Debtors’ retention of professional service firms is more
            fully described in the individual retention applications for those firms and related
            orders.

      9.    Statement 13. The Debtors may, from time to time and in the ordinary course of
            business, transfer equipment and other assets and sell certain equipment and other
            assets to third parties. These types of ordinary course transfers have not been
            disclosed in Statement 13. The Debtors further do not take any position with
            respect to whether transfers identified in response to Statement 13 are made in the
            ordinary course of business. Certain transfers listed in this response are included
            solely out of an abundance of caution.

            If the Debtors vacated store locations during the three years immediately preceding
            the Petition Date, information on these former store locations is contained in the
            Debtors’ response to Statement 14.

      10.   Statement 21. In the ordinary course of business, the Debtors’ corporate and retail
            locations contain various equipment and items owned by others including copy
            machines and computer hardware. Additionally, the Debtors utilize leased property
            in their ordinary course of business. Therefore, the Debtors hold property subject
            to leases listed on the Debtors’ Schedule G.

            Certain of the Debtors’ vendors sell inventory and fulfill orders through the
            Debtors’ e-commerce platforms (such vendors, the “Marketplace Vendors”). The
            Debtors do not physically possess the inventory at any time; however, the Debtors
            collect payment for the goods sold through their e-commerce platforms and pay the
            Marketplace Vendors on a monthly (or, at the Debtors’ option, more frequent) basis
            the proceeds of any goods sold, less a commission and other amounts due to the
            Debtors. Out of an abundance of caution, the Debtors have included the property
            of the Marketplace Vendors in the Debtors’ response to Statement 21, although the
            Debtors have indicated that the value of such property is “unknown” or
            “undetermined.” Although reasonable efforts have been made to ensure the
            accuracy of Statement 21, review is ongoing and inadvertent errors, omissions or
            overinclusion may have occurred.

      11.   Statement 26(d). The Debtors provided financial statements in the ordinary course
            of business to certain parties for business, statutory, credit, financing and other
            reasons. Recipients have included regulatory agencies, financial institutions,


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            investment banks, debtholders, and their legal and financial advisors. Financial
            statements have also been provided to other parties as requested.

      12.   Statement 27. The amounts listed in the response to Statement 27 include all
            inventory held by the Debtors in retail locations.

      13.   Statement 29. Disclosures relate specifically to terminated job titles or positions
            and are not indicative of the individuals’ current employment status with the
            Debtors.

      14.   Statement 30. Any and all known disbursements to insiders of the Debtors have
            been listed in the response to Statement 4. The items listed under Statement 30
            incorporate by reference any items listed under Statement 4, and vice versa.




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Debtor Name           Chinos Holdings, Inc.
United States Bankruptcy Court for the Eastern District of Virginia
Case number (if known):             20-32181



                                                                                                                                  Check if this is an
                                                                                                                                  amended filing
Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                      04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional
pages, write the debtor's name and case number (if known).

Part 1:        Income



1. Gross Revenue from business


  X None



     Identify the beginning and ending dates of the debtor's fiscal year, which may         Sources of Revenue                        Gross Revenue
     be a calendar year                                                                                                               (before deductions and
                                                                                                                                      exclusions)




2. Non-business revenue
Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

  X None



                                                                                            Description of sources of                 Gross Revenue from
                                                                                            revenue                                   each  source
                                                                                                                                      (before deductions and
                                                                                                                                      exclusions)




Part 2:        List Certain Transfers Made Before Filing for Bankruptcy



3. Certain payments or transfers to creditors within 90 days before filing this case
List payments of transfers - including expense reimbursements to any creditor, other than regular employee compensation, within 90 days before
filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
and every 3 years after that with respect to cases filed on or after the date of adjustment.)

  X None

          Creditor's name and address           Dates                Total amount or value            Reasons for payment or transfer
                                                                                                      Check all that apply




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4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825.
(This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not
include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general
partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11
U.S.C. § 101(31).

  X None

          Insider's name and address             Dates                Total amount or value              Reasons for payment or transfer




5. Repossessions, foreclosures, and returns
List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

  X None

          Creditor's name and address            Description of the property                             Date           Value of property



6. Setoffs
List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an
account of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor
owed a debt.

  X None



     Creditor's name and address                       Description of the action creditor took           Date action was                     Amount
                                                                                                         taken




Part 3:        Legal Actions or Assignments



7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was
involved in any capacity—within 1 year before filing this case.

     None



     Case title                               Nature of case                                Court or agency's name and address                  Status of case
7.1 Ahmed Kamal v. Chinos Holdings,           Alleged Fair and Accurate Credit              US District Court of New Jersey                          Pending
    Inc., et al.                              Transactions Act (FACTA)                      Martin Luther King Building & U.S.                       On appeal
                                                                                            Courthouse
     Case number                                                                            50 Walnut Street                                         Concluded
     No. 15-CV-00190                                                                        Newark, NJ 07102




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8. Assignments and receivership
List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands
of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

  X None



     Custodian's name and address            Description of the property                  Value




Part 4:      Certain Gifts and Charitable Contributions



9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
of gifts to that recipient is less than $1,000


  X None



     Recipient's name and address                     Description of the gifts or contributions         Dates given                         Value




Part 5:      Certain Losses



10. All losses from fire, theft, or other casualty within 1 year before filing this case.


  X None



     Description of the property lost and             Amount of payments received for the loss Date of loss                         Value of property lost
     how the loss occurred                            If you have received payments to cover the
                                                      loss, for example, from insurance, government
                                                      compensation, or tort liability, list the total
                                                      received.
                                                      List unpaid claims on Official Form 106 A/B
                                                      (Schedule A/B: Assets - Real and Personal
                                                      Property).




Part 6:      Certain Payments of Transfers



11. Payments related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the
filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking


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bankruptcy relief, or filing a bankruptcy case.

  X None



     Who was paid or who received the                  If not money, describe any property                Dates                       Total amount or value
     transfer? Address                                 transferred




12. Self-settled trusts of which the debtor is a beneficiary
List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this
case to a self-settled trust or similar device.
Do not include transfers already listed on this statement.

  X None



     Name of trust or device                           Describe any property transferred                  Dates transfers             Total amount or value
                                                                                                          were made




13. Transfers not already listed on this statement
List any transfers of money or other property - by sale, trade, or any other means - made by the debtor or a person acting on behalf of the debtor
within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

  X None



     Who received transfer? Address.                   Description of property transferred or             Date transfer was           Total amount or value
                                                       payments received or debts paid in                 made
                                                       exchange.




Part 7:       Previous Locations



14. Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

  X Does not apply

          Address                                                                                        Dates of occupancy



Part 8:       Health Care Bankruptcies



15. Health Care bankruptcies
Is the debtor primarily engaged in offering services and facilities for:
- diagnosing or treating injury, deformity, or disease, or
- providing any surgical, psychiatric, drug treatment, or obstetric care?


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     No Go to Part 9.
     Yes. Fill in the information below.


          Facility name and address                    Nature of the business operation, including type of services the              If debtor provides meals
                                                       debtor provides                                                               and housing, number of
                                                                                                                                      patients in debtor's care



                                                       Location where patient records are maintained                                   How are records kept?
                                                                                                                                          Electronically
                                                                                                                                          Paper

Part 9:          Personally Identifiable Information



16. Does the debtor collect and retain personally identifiable information of customers?

     No
     Yes. State the nature of the information collected and retained.


     Does the debtor have a privacy policy about that information?
            No
            Yes.




17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
pension or profit-sharing plan made available by the debtor as an employee benefit?

     No Go to Part 10.
     Yes. Does the debtor serve as plan administrator?


            No. Go to Part 10.
            Yes. Fill in below:
             Name of plan                                                                           Employer identification number of plan
                                                                                                    EIN:
             Has the plan been terminated?
                No
                Yes


Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units



18. Closed financial accounts
Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage
houses, cooperatives, associations, and other financial institutions.

  X None



     Financial institution name and address Last 4 digits of account             Type of account      Date account was closed,          Last balance before
                                            number                                                    sold, moved, or                    closing or transfer
                                                                                                      transferred
                                                                                     Checking
                                                                                     Savings



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                                                                                       Money Market
                                                                                       Brokerage
                                                                                       Other




19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
case.

  X None



     Depository institution name and          Names of anyone with access to it.             Description of contents                               Does debtor
     address                                  Address                                                                                              still have it?
                                                                                                                                                        No

                                                                                                                                                        Yes




20. Off-premises storage
List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
which the debtor does business.

  X None



     Facility name and address                Names of anyone with access to it.             Description of contents                               Does debtor
                                              Address                                                                                              still have it?
                                                                                                                                                        No

                                                                                                                                                        Yes




Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own



21. Property held for another
List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust.
Do not list leased or rented property.

  X None



     Owner's name and address                 Location of the property                       Description of the property                               Value




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Part 12:     Details About Environmental Information

For the purpose of Part 12, the following definitions apply:
 - Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
medium affected (air, land, water, or any other medium)
 - Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned,
operated, or utilized.
 - Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
harmful substance.


22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
orders.

     No
     Yes. Provide details below.


     Case title                               Court or agency name and address              Nature of the case                                  Status of case
                                                                                                                                                     Pending
                                                                                                                                                     On appeal
    Case number                                                                                                                                      Concluded




23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental law?

     No
     Yes. Provide details below.


     Site name and address                    Governmental unit name and                    Environmental law, if known                         Date of notice
                                              address




24. Has the debtor notified any governmental unit of any release of hazardous material?

     No
     Yes. Provide details below.


     Site name and address                    Governmental unit name and                    Environmental law, if known                         Date of notice
                                              address




Part 13:     Details About the Debtor's Business or Connections to Any Business



25. Other businesses in which the debtor has or has had an interest



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List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
Include this information even if already listed in the Schedules.

       None

         Business name and address               Describe the nature of                               Employer identification
                                                 the business                                         number. Dates business
                                                                                                      existed
25.1     Chinos Intermediate Holdings            Retail                                               XX-XXXXXXX
         225 Liberty St.                                                                              1/3/2011 - Present
         New York, NY 10281


26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.


       None

         Name and address                                                                             Dates of service
26a.1 Vincent Zanna                                                                                   2009 - Present
      Chief Financial Officer
      225 Liberty Street
      New York, NY 1028

26a.2 Jeremy Brooks                                                                                   2007 - Present
      Chief Accounting Officer
      225 Liberty Street
      New York, NY 10281


26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
statement within 2 years before filing this case.


       None

         Name and address                                                                             Dates of service
26b.1 KPMG LLP                                                                                        1997 - Present
      345 Park Avenue
      New York, NY 10080

26b.2 Ryan LLC
      Three Galleria Tower
      13155 Noel Rd, Ste 100
      Dallas, TX 75240-5090

26b.3 Deloitte Consulting LLP
      30 Rockefeller Plz, 41st Fl
      New York, NY 10112-0015

26b.4 Deloitte Tax LLP
      P.O. Box 844736
      Dallas, TX 75284-4736


26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.


       None

         Name and address                                                                             If any books of account
                                                                                                      and records are
                                                                                                      unavailable, explain why
26c.1 Vincent Zanna
      Chief Financial Officer
      225 Liberty Street
      New York, NY 10281

26c.2 Jeremy Brooks
      Chief Accounting Officer


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         225 Liberty Street
         New York, NY 10281

26c.3 KPMG LLP
      345 Park Avenue
      New York, NY 10080


26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
financial statement within 2 years before filing this case.


       None

         Name and address



26d.1 Bank of America, N.A.
      (Administrative Agent and
      Collateral Agent under
      ABL Credit Agreement)
      100 Federal St
      Boston, MA 02110

26d.2 Wilmington Savings Fund
      Society, FSB
      (Administrative Agent and
      Collateral Agent under
      Term Loan Agreement)
      500 Delaware Ave
      Wilmington, DE 19801


27. Inventories
Have any inventories of the debtor’s property been taken within 2 years before filing this case?
       No
       Yes. Give the details about the two most recent inventories


       Name of the person who supervised                                                            Date of inventory       The dollar amount and basis
       the taking of the inventory                                                                                          (cost, market, or other basis)
                                                                                                                                   of each inventory


         Name and address of the person who has possession of inventory records




28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
people in control of the debtor at the time of the filing of this case.




         Name                         Address                        Position and nature of         % of interest, if any
                                                                     any interest
28.1     Michael Nicholson                                           President, Chief Operating
         225 Liberty Street                                          Officer
         New York, NY 10281

28.2     Vincent Zanna                                               Chief Financial Officer &
         225 Liberty Street                                          Treasurer
         New York, NY 10281

28.3     Lynda Markoe                                                Chief Administrative Officer
         225 Liberty Street
         New York, NY 10281

28.4     Lisa Greenwald                                              Chief Merchandising


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         225 Liberty Street                                          Officer
         New York, NY 10281

28.5     Maria Di Lorenzo                                            Senior Vice President,
         225 Liberty Street                                          General Counsel &
         New York, NY 10281                                          Secretary

28.6     Jeremy Brooks                                               Senior Vice President &
         225 Liberty Street                                          Chief Accounting Officer
         New York, NY 10281

28.7     Libby Wadle                                                 President and CEO -
         225 Liberty Street                                          Madewell Brand
         New York, NY 10281

28.8     James G. Coulter                                            Director
         225 Liberty Street
         New York, NY 10281

28.9     Jonathan D. Sokoloff                                        Director
         225 Liberty Street
         New York, NY 10281

28.10 Michael Solomon                                                Director
      225 Liberty Street
      New York, NY 10281

28.11 Seth Farbman                                                   Director
      225 Liberty Street
      New York, NY 10281

28.12 Jack Weingart                                                  Director
      225 Liberty Street
      New York, NY 10281


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

       No
       Yes. Identify below.
         Name                         Address                        Position and nature of            Period during which
                                                                     any interest                      position or interest was held
29.1     Adam Brotman                                                President, Chief                  March 2018-April 2019
                                                                     Experience Officer

29.2     Carrie Wheeler                                              Director                          Through April 11, 2019


30. Payments, distributions, or withdrawals credited or given to insiders
Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
bonuses, loans, credits on loans, stock redemptions, and options exercised?
       No
       Yes. Identify below.


       Name and address of recipient                  Amount of money or description and               Dates                     Reason for providing this
                                                      value of property                                                                   value


         Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?




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       No
       Yes. Identify below.
         Name of the parent corporation                                Employer identification number of the
                                                                       parent corporation
31.1     Chinos Holdings, Inc.                                         XX-XXXXXXX


32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

       No
       Yes. Identify below.
         Name of the pension fund                                      Employer identification number of the
                                                                       pension fund



Part 14:       Signature and Declaration

  WARNING Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
  connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years or both.
  18 U.S.C. §§ 152, 1341, 1519, and 3571.

  I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
  is true and correct.

  I declare under penalty of perjury that the foregoing is true and correct.

  Executed on.          6/12/2020
                        MM / DD / YYYY

  /s/Vincent Zanna                                                             Printed name   Vincent Zanna
  Signature of individual signing on behalf of the debtor

  Position or relationship to the debtor     Chief Financial Officer

  Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
        No

        Yes




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